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  Sidney: She had already talked to me, yes.

  Steve: Could you tell me that conversation that you had with her?

  Sidney: I was with a group of people, Marissa, all of them.

  Steve: You, Marissa, Toni...

  Sidney: Marissa, Toni, Sage. That would be it.

  Steve: What happened when she said she slept with somebody that she did not plan at? Is that what she said?

  Sidney: As soon as she woke up at two PM. That next day. I guess that was a Sunday. She just seemed really confused.

  Sidney: She was like, "I think I had sex with Daniel. I do not know, I think this is his shirt. He told me to come over.
  She was like, "I do not know, it is just really bad. This is really bad."

  Sidney: We had left it at that. She was feeling really sick and nauseous.

  Steve: She told you to come over?

  Sidney: No, she is talking about how Danny told her to come over.

  Steve: Come over where?

  Sidney: To his room, I guess. Like she had some text from him. Saying, "you should come over." Something on those
  lines.

  Sidney: So she had. Then what happened, happened. The next day she just seemed confused and I had left as soon as
  she had thrown up because I was like, "Oh she is doing better, I could go now."

  Sidney: Not realizing what was on her mind. I do not know if she just did not want to say it. Or if she was not really
  putting the pieces together because she did not remember anything when she first woke up.

  Sidney: So I think that was what it was. I was still really confused by the time I told Theo because nobody was really
  communicating with me. It was just her mom calling me and saying, "I think Devon was raped and you need to tell me
  all the information you can."

  Sidney: All this time Devon still really had not communicated to me that she had thought that. I do not know if it was
  just an overreaction.

  Steve: I guess what I am trying to say, Sidney, is that what you told the RA?

  Sidney: Yes.

  Steve: Basically, the way it reads here, "McCarthy stated that she slept with somebody that she had not been planning to
  sleep with but resident Ryan remarked that McCarthy seemed fine with it."

  Sidney: Yes, when she first said it she seemed fine with it but then later on she did not.

  Steve: Explain to me initially, how she...

  Sidney: She was just, "I had sex with somebody, I think I slept with Daniel. I am so mad." But not, "I think I was
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